Case 2:11-cr-20129-SFC-EAS ECF No. 1571, PageID.19038 Filed 11/02/15 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                                Case No. 11-20129


 D-12 VICTOR CARLOS CASTANO,
 D-14 MICHAEL KENNETH RICH, and
 D-17 DAVID RANDY DROZDOWSKI

                Defendants.
                                            /


      MEMORANDUM GOVERNING RE-DIRECT AND RE-CROSS EXAMINATION

        The court finds it necessary to clarify the circumstances under which additional

 direct examination and additional cross examination is warranted.

        First, examination of any witness is subject to supervision by the court as

 Federal Rule of Evidence 611 provides:

        Mode and Order of Examining Witnesses and Presenting Evidence

                (a) Control by the Court; Purposes. The court should exercise
                reasonable control over the mode and order of examining
                witnesses and presenting evidence so as to:
                        (1) make those procedures effective for determining the
                        truth;
                        (2) avoid wasting time; and
                        (3) protect witnesses from harassment or undue
                        embarrassment.

        Section (b) of the same Rule also provides, in part, that “[c]ross-examination

 should not go beyond the subject matter of the direct examination and matters affecting

 the witness's credibility.”

        There is no right identified in the Rules of Evidence specifically validating a right

 of either re-direct or re-cross examination. This court views proper re-direct

 examination as limited to those matters addressed in cross examination (and possibly
Case 2:11-cr-20129-SFC-EAS ECF No. 1571, PageID.19039 Filed 11/02/15 Page 2 of 3



 expanded into new matters if reasonably warranted), and any possible re-cross

 examination as limited to new subject matter raised on re-direct, as the Sixth Circuit, in

 United States v. Payne, explained:

        An essential component of the confrontation clause is the accused's right to
        cross-examine the state's witnesses. However, the right to cross-examine is not
        absolute. A trial court retains discretion to limit the scope of cross-examination,
        based on concerns such as harassment, prejudice, confusion of the issues, the
        witness's safety, or interrogation that is repetitive or only marginally relevant.
        Accordingly, we review restrictions on cross-examination for an abuse of
        discretion. We apply the same abuse of discretion standard when reviewing
        limits on recross-examination. . . . We have permitted district courts to curtail or
        even to deny recross-examination if the government elicits no new matters on
        redirect examination.

 437 F.3d 540, 547-48 (6th Cir. 2006) (internal quotations and citations omitted). The

 Payne panel also “suggested that foreclosing recross-examination after the government

 elicits one or more new issues on redirect would constitute a Sixth Amendment

 violation.” Id. at 547 n.5 (emphasis omitted) (citing United States v. Dandy, 998 F.2d

 1344, 1350 (6th Cir.1993) (rejecting a Sixth Amendment claim because the district court

 only limited questions that went beyond the scope of direct and redirect examination

 while giving defendant the opportunity to call these witnesses himself)).

        It has been the court’s experience thus far in the trial at bar that in introducing re-

 direct examination there has been consistent reference to points raised in cross

 examination. Proposed re-cross examination, however, has differed. It has been the

 court’s impression that counsel proposing re-cross examination have, for the most part,

 simply sought additional details regarding answers to re-direct questions. This does not

 qualify as identifying “new subject matter” raised in re-direct.

        Allowing unlimited additional questions on re-cross examination raises the

 likelihood of an undue waste of time and unnecessary repetitiveness, both of which are

 inconsistent with Rule 611's requirement that “[t]he court should exercise reasonable

 control.”



                                               2
Case 2:11-cr-20129-SFC-EAS ECF No. 1571, PageID.19040 Filed 11/02/15 Page 3 of 3



            Accordingly, any party suggesting a need to address questions in re-cross

 examination must be prepared to identify with specificity the purported “new subject

 matter” as to which re-cross examination is claimed to be due. Counsel may not simply

 announce in the presence of the jury the substance of the proposed question(s).


                                                                    s/Robert H. Cleland
                                                                    ROBERT H. CLELAND
                                                                    UNITED STATES DISTRICT JUDGE
 Dated: November 2, 2015

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, November 2, 2015, by electronic and/or ordinary mail.

                                                                    s/Lisa G. Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522




 S:\Cleland\JUDGE'S DESK\C2 ORDERS\11-20129.DDMC.Re Cross Examination.v2.wpd
                                                                         3
